  Case 3:21-cv-01010-X Document 23 Filed 12/17/21                 Page 1 of 5 PageID 4156



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                      )
In re:                                )
                                      )                        Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )                        Case No. 19-34054 (SGJ)
            Reorganized Debtor.       )
                                      )
                                      )
                                      )
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )
                 Plaintiff,           )
                                      )                        Adv. Proc. No: 21-03003 (SGJ)
vs.                                   )
                                      )                        Case No: 3:21-cv-01010-E
JAMES DONDERO, NANCY DONDERO, AND THE )
DUGABOY INVESTMENT TRUST,             )
                                      )
                Defendants,           )
                                      )

                                CERTIFICATE OF SERVICE

      I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Reorganized Debtor in the bankruptcy case of
Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex).

        On December 13, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

   •   Notice of First Motion to Consolidate Notes Actions [Docket No. 19]

Dated: December 16, 2021
                                                 /s/ Elliser Silla
                                                 Elliser Silla
                                                 KCC
                                                 222 N Pacific Coast Highway, Suite 300
                                                 El Segundo, CA 90245
Case 3:21-cv-01010-X Document 23 Filed 12/17/21   Page 2 of 5 PageID 4157


                          EXHIBIT A
                                                 Exhibit A
              Case 3:21-cv-01010-X DocumentCivil
                                            23Action
                                                  Filed    12/17/21
                                                     Service List                                     Page 3 of 5 PageID 4158
                                                                  Served via Electronic Mail



                 Description                          CreditorName                       CreditorNoticeName                            Email
                                                                                                                     john@bondsellis.com;
                                                                                                                     john.wilson@bondsellis.com;
                                                                               John Y. Bonds, III, John T. Wilson,   bryan.assink@bondsellis.com;
                                              Bonds Ellis Eppich Schafer       IV, Bryan C. Assink, Clay M. Taylor, clay.taylor@bondsellis.com;
Counsel for James Dondero                     Jones LLP                        William R. Howell, Jr.                william.howell@bondsellis.com
Financial Advisor to Official Committee of                                                                           Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                           FTI Consulting                   Earnestiena Cheng, Daniel H O'Brien Daniel.H.O'Brien@fticonsulting.com
Counsel for Nancy Dondero                     Greenberg Traurig, LLP           Daniel P. Elms                        elmsd@gtlaw.com
                                                                               Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
Counsel for the Debtor                        Hayward & Associates PLLC        Annable                               ZAnnable@HaywardFirm.com
                                                                                                                     ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment Trust                                       Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
and Get Good Trust                            Heller, Draper & Horn, L.L.C.    Greta M. Brouphy                      gbrouphy@hellerdraper.com
                                                                                                                     mclemente@sidley.com;
                                                                               Matthew Clemente, Alyssa Russell,     alyssa.russell@sidley.com;
Counsel for Official Committee of Unsecured                                    Elliot A. Bromagen, Dennis M.         ebromagen@sidley.com;
Creditors                                     Sidley Austin LLP                Twomey                                dtwomey@sidley.com
                                                                                                                     preid@sidley.com;
                                                                               Penny P. Reid, Paige Holden           pmontgomery@sidley.com;
Counsel for Official Committee of Unsecured                                    Montgomery, Juliana Hoffman,          jhoffman@sidley.com;
Creditors                                    Sidley Austin LLP                 Chandler M. Rognes                    crognes@sidley.com
Attorneys for James Dondero, Nancy
Dondero, Highland Capital Management
Services, Inc. and HCRE Partners, LLC (n/k/a                                   Deborah Deitsch-Perez, Michael P.   deborah.deitschperez@stinson.com;
NexPoint Real Estate Partners, LLC)          Stinson LLP                       Aigen                               michael.aigen@stinson.com
Bankruptcy Judge                             US Bankruptcy Court               Hon. Stacey G Jernigan              sgj_settings@txnb.uscourts.gov




    Highland Capital Management, L.P.
    Case No. 19-34054                                                      Page 1 of 1
Case 3:21-cv-01010-X Document 23 Filed 12/17/21   Page 4 of 5 PageID 4159


                          EXHIBIT B
                                                                         Exhibit B
                                      Case 3:21-cv-01010-X DocumentCivil
                                                                    23Action
                                                                          Filed    12/17/21
                                                                             Service List                                        Page 5 of 5 PageID 4160
                                                                                            Served via First Class Mail



                Description                          CreditorName                    CreditorNoticeName                     Address1               Address2      Address3       City     State      Zip
                                                                             John Y. Bonds, III, John T. Wilson,
                                             Bonds Ellis Eppich Schafer      IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
Counsel for James Dondero                    Jones LLP                       William R. Howell, Jr.                Suite 1000                                               Fort Worth   TX      76102
                                                                                                                   2200 Ross Avenue, Suite
Counsel for Nancy Dondero                    Greenberg Traurig, LLP          Daniel P. Elms                        5200                                                     Dallas       TX      75201
Counsel for the Dugaboy Investment Trust                                     Douglas S. Draper, Leslie A. Collins, 650 Poydras Street, Suite
and Get Good Trust                           Heller, Draper & Horn, L.L.C.   Greta M. Brouphy                      2500                                                     New Orleans LA       70130
Attorneys for James Dondero, Nancy
Dondero, Highland Capital Management
Services, Inc. and HCRE Partners, LLC (n/k/a                                 Deborah Deitsch-Perez, Michael P.    3102 Oak Lawn Avenue,
NexPoint Real Estate Partners, LLC)          Stinson LLP                     Aigen                                Suite 777                                                 Dallas       TX      75219
                                                                                                                  Chambers of Judge Stacey
Bankruptcy Judge                             US Bankruptcy Court             Hon. Stacey G Jernigan               G C Jernigan                 1100 Commerce St Room 1254 Dallas         TX      75242-1496




  Highland Capital Management, L.P.
  Case No. 19-34054                                                                                Page 1 of 1
